           Case 2:20-cv-00153-RSM Document 20 Filed 09/24/20 Page 1 of 4




 1                                           HONORABLE RICARDO S. MARTINEZ

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 6                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE
 8   SUSAN HOLMES, PIERINO DE
     SIMONE, and ANTONINA DE SIMONE,        NO. 2:20-CV-00153-RSM
 9
     individuals
10                   Plaintiffs,            STIPULATED MOTION AND ORDER
                                            OF DISMISSAL WITH PREJUDICE
11   v.                                     OF ALL CLAIMS BY PLAINTIFFS
                                            PIERINO DE SIMONE AND
12   U.S. BANKCORP, national banking        ANTONINA DE SIMONE
     association,
13                                          NOTE ON MOTION CALENDAR:
                        Defendant.          September 23, 2020
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     STIPULATED MOTION AND ORDER                    DORSEY & WHITNEY LLP
                                                      701 FIFTH AVENUE, SUITE 6100
     OF DISMISSAL WITH PREJUDICE                        SEATTLE, WA 98104-7043
                                                          PHONE: (206) 903-8800
                                                          FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 20 Filed 09/24/20 Page 2 of 4




 1                                          STIPULATION

 2         Pursuant to FRCP 41, Plaintiffs Pierino De Simone and Antonina De Simone and

 3 Defendant U.S. Bank National Association (misidentified in the caption as “U.S. Bankcorp”)

 4 (“U.S. Bank”), by and through their undersigned counsel of record, hereby stipulate and agree that

 5 all claims and causes of action by Plaintiffs Pierino De Simone and Antonina De Simone in this

 6 action shall be dismissed with prejudice, and without fees or costs to any party. For clarity, no

 7 claims by any Plaintiffs other than Pierino De Simone and Antonina De Simone are affected by

 8 this Stipulation. Plaintiffs Pierino De Simone and Antonina De Simone and Defendant U.S. Bank

 9 jointly request entry of the Order below.

10         SO STIPULATED this 23rd day of September 2020.

11
      /s/ Shawn Larsen-Bright                         /s/ Eric J. Harrison (by email authorization)
12
      Shawn Larsen-Bright, WSBA #37066                Eric J. Harrison, WSBA #46129
13    Dorsey & Whitney LLP                            Attorney West Seattle, P.S.
      701 Fifth Avenue, Suite 6100                    5400 California Ave. SW Ste. E
14    Seattle, WA 98104                               Seattle, WA 98136
      (206) 903-8800                                  (206) 388-8092
15    larsen.bright.shawn@dorsey.com                  eric@attorneywestseattle.com
16    Attorneys for Defendant U.S. Bank National      Attorney for Plaintiffs
      Association
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     STIPULATED MOTION AND ORDER                                   DORSEY & WHITNEY LLP
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                                                                         FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 20 Filed 09/24/20 Page 3 of 4




 1                                             ORDER

 2         Based upon FRCP 41 and the foregoing Stipulation, all claims and causes of action by

 3 Plaintiffs Pierino De Simone and Antonina De Simone in this action shall be and are hereby

 4 dismissed with prejudice. No claims by any Plaintiffs other than Plaintiffs Pierino De Simone and

 5 Antonina De Simone are affected by this Order.

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 7         IT IS SO ORDERED this 24th day of September, 2020.

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                                                RICARDO S. MARTINEZ
11                                              CHIEF UNITED STATES DISTRICT JUDGE

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     STIPULATED MOTION AND ORDER                                  DORSEY & WHITNEY LLP
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                                                                        FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 20 Filed 09/24/20 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on this date I caused the foregoing document to be electronically filed

 3 with the Clerk of Court using the CM/ECF system which will send notification of the filing to all

 4 counsel of record.

 5
     DATED this September 23, 2020.
 6

 7                                               s/ Molly Price
                                                 Molly Price, Legal Assistant
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     STIPULATED MOTION AND ORDER                                    DORSEY & WHITNEY LLP
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     3-                                                                   PHONE: (206) 903-8800
                                                                          FAX: (206) 903-8820
